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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

IN RE:                                                Case No: 8:21-bk-00038-MGW
CARRIN DENISE JAMES                                   Chapter: 7

      Debtors.
__________________________________/

                        NOTICE OF FILING
           AMENDED STATEMENT OF SOCIAL SECURITY NUMBER

       COMES NOW, Carrin Denise James, and files this Notice of filing an Amended
Statement of Social Security Number (Doc. No. 9), to correct the Debtor’s social security
number.
                             CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing and Amended
Statement of Social Security Numbers, containing the Debtor’s complete and corrected
social security number, has been furnished by first class U.S. Mail to all parties in interest
listed on the attached matrix and to Chapter 7 Trustee, Christine L Herendeen, on this
21st day of January, 2021

                                               Eva Donohue, P.A.

                                               /s/ Eva M. Donohue
                                               _______________________
                                               EVA M. DONOHUE, ESQ.
                                               FBN: 0576581
                                               PO Box 5074
                                               Lakeland, FL 33807
                                               Phone: 863-687-6400
                                               Fax: 863-687-6440
                                               Email: info@emdlawfirm.com
                               Case 8:21-bk-00038-MGW        Doc 10         Filed 01/21/21   Page 2 of 3
Label Matrix for local noticing              AT&T Mobility                                   Capital One Bank Usa N
113A-8                                       P.O. Box 536216                                 Po Box 30281
Case 8:21-bk-00038-MGW                       Atlanta, GA 30353-6216                          Salt Lake City, UT 84130-0281
Middle District of Florida
Tampa
Thu Jan 21 12:41:25 EST 2021
(p)US BANK                                   Comdata                                         DirectTV
PO BOX 5229                                  5301 Maryland Way                               P.O. Box 105261
CINCINNATI OH 45201-5229                     Brentwood, TN 37027-5028                        Atlanta, GA 30348-5261



ETI Financial Corporation                    FDOT                                            Frontier Communications
1551 Sawgrass Corporate Pkwy                 PO Box 31241                                    PO Box 5157
Suite 130                                    Tampa, FL 33631-3241                            Tampa, FL 33675-5157
Sunrise, FL 33323-2828


Grow Financial Fcu                           HRRG                                            I.c. System, Inc
Pob 6824                                     PO Box 8486                                     Po Box 64378
Tampa, FL 33608-6824                         Coral Springs, FL 33075-8486                    Saint Paul, MN 55164-0378



Inphynet Contra                              Internal Revenue Service                        Lakeland Regional Health
1643 Nw 136th Ave                            Centralized Insolvency Opera                    PO Box 95448
Sunrise, FL 33323-2857                       PO Box 7346                                     Lakeland, FL 33804-5448
                                             Philadelphia, PA 19101-7346


Mercedes-Benz Financial Svcs                 National Indemnity                              Polk County Court
PO Box 5260                                  1314 Douglas Street                             255 N. Broadway Ave.
Carol Stream, IL 60197-5260                  Suite 1400                                      Bartow, FL 33830-3912
                                             Omaha, NE 68102-1944


PrePas Billing Department                    Progressive Commercial Auto                     Tampa General Hospital
101 North 1st Avenue                         Insurance                                       PO Box 100936
Suite 2200                                   PO Box 94739                                    Atlanta, GA 30384-0936
Phoenix, AZ 85003-1908                       Cleveland, OH 44101-4739


Tampa-Hillsborough                           Underwriters at Lloyds, Lond                    United States Trustee - TPA7/13
Expessway Authority                          181 West Madison Street                         Timberlake Annex, Suite 1200
PO Box 865460                                Suite 3780                                      501 E Polk Street
Orlando, FL 32886-5460                       Chicago, IL 60602-4510                          Tampa, FL 33602-3949


Verizon Bankruptcy Dept                      Watson Clinc, LLP                               Wells Fargo Bank
500 Technology Dr #550                       P.O. Box 95004                                  Credit Bureau Dispute Resoluti
Saint Charles, MO 63304-2225                 Lakeland, FL 33804-5004                         Des Moines, IA 50306



Carrin Denise James                          Christine L Herendeen                           Eva M Donohue
2110 Smithfield Circle South                 Post Office Box 152348                          The Law Office of Eva M. Donohue, P.A.
Lakeland, FL 33801-6633                      Tampa, FL 33684-2348                            PO Box 5074
                                                                                             Lakeland, FL 33807-5074
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Cardmember Service                                   End of Label Matrix
PO Box 790084                                        Mailable recipients    29
Saint Louis, MO 63166-0108                           Bypassed recipients     0
                                                     Total                  29
